        Case 1:21-cv-03781-AT-JSA Document 6 Filed 11/11/21 Page 1 of 18



                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

JYQWAVOUS WHITAKER,

             Plaintiff,                        CIVIL ACTION FILE
v.                                             NO. 1:21-CV-03781-AT-JSA

SHERIFF VICTOR HILL, in his
individual and official capacities, as
Sheriff of Clayton County Georgia and
RAYMON SHEROD WINN, in his
individual capacity, as a Clayton County
Deputy Sheriff.

             Defendants.


     DEFENDANT RAYMON SHEROD WINN’S ANSWER AND DEFENSES
     TO PLAINTIFF’S COMPLAINT FOR DAMAGES AND DEMAND FOR
                          JURY TRIAL

       COMES NOW defendant Raymon Sherod Winn (“defendant”), by and

through the undersigned counsel, and hereby files his answer and defenses to

plaintiff’s complaint for damages and demand for jury trial (Doc. 1) (the

“complaint”), showing the Court as follows:

                               FIRST DEFENSE

       Plaintiff’s complaint fails to state a claim against defendant upon which

relief can be granted.
      Case 1:21-cv-03781-AT-JSA Document 6 Filed 11/11/21 Page 2 of 18



                               SECOND DEFENSE

      Responding to the numbered paragraphs of plaintiff’s complaint, defendant

answers as follows:

                        ANSWER TO INTRODUCTION

                                          1

      Responding to the allegations contained in paragraph 1 of plaintiff’s

complaint, defendant denies in the form and manner alleged the allegations

contained in this paragraph, denies any and all liability for the claims asserted, and

denies that plaintiff is entitled to any of the relief requested from defendant in

form, type, or amount, under any theory at law or in equity.

                                          2.

      Responding to the allegations contained in paragraph 2 of plaintiff’s

complaint, defendant denies in the form and manner alleged the allegations

contained in this paragraph, denies any and all liability for the claims asserted, and

denies that plaintiff is entitled to any of the relief requested from defendant in

form, type, or amount, under any theory at law or in equity.

                 ANSWER TO JURISDICTION AND VENUE

                                          3.

      The allegations contained in paragraph 3 of plaintiff’s complaint constitute a

legal conclusion to which no response is required. To the extent that a response is

required, defendant denies any and all liability for the claims asserted, including

                                         -2-
       Case 1:21-cv-03781-AT-JSA Document 6 Filed 11/11/21 Page 3 of 18



any claims brough under 42 U.S.C. §§ 1983 and 1988 and the Fourteenth

Amendment of the United States Constitution, and denies that plaintiff is entitled

to any of the relief requested from defendant in form, type, or amount, under any

theory at law or in equity. Further responding, defendant states that this Court

generally has subject matter jurisdiction over federal question claims pursuant to

28 U.S.C. §§ 1331 and 1343 and that 28 U.S.C. § 1367 speaks for itself.

                                           4.

      The allegations contained in paragraph 4 of plaintiff’s complaint constitute a

legal conclusion to which no response is required. To the extent that a response is

required, defendant states that venue is proper.

                                           5.

      The allegations contained in paragraph 5 of plaintiff’s complaint constitute a

legal conclusion to which no response is required. To the extent that a response is

required, defendant states that this Court has personal jurisdiction over defendant

and that venue is proper.

                            ANSWER TO THE PARTIES

                                           6.

      Defendant can neither admit nor deny the allegations contained in paragraph

6 of plaintiff’s complaint for want of sufficient information to form a belief as to

the truth thereof, and puts plaintiff upon strict proof of the same.



                                          -3-
      Case 1:21-cv-03781-AT-JSA Document 6 Filed 11/11/21 Page 4 of 18



                                         7.

      Responding to the allegations contained in paragraph 7 of plaintiff’s

complaint, defendant admits that at all times relevant Victor Hill was the Sheriff of

Clayton County and admits that plaintiff has sued Victor Hill in his individual and

official capacities. Defendant further admits upon information and belief that

Victor Hill was acting under color of state law and within the scope of his

discretionary authority and employment at all times relevant.

                                         8.

      Responding to the allegations contained in paragraph 8 of plaintiff’s

complaint, defendant admits that at all times relevant he was acting under color of

state law and within the scope of his discretionary authority and employment with

the Sheriff of Clayton County.       Defendant denies the remaining allegations

contained in paragraph 8 of plaintiff’s complaint and specifically denies that he

acted with malice.

                                         9.

      Defendant admits the allegations contained in paragraph 9 of plaintiff’s

complaint.

                                        10.

      Defendant denies the allegations contained in paragraph 10 of plaintiff’s

complaint.



                                        -4-
       Case 1:21-cv-03781-AT-JSA Document 6 Filed 11/11/21 Page 5 of 18



                                       11.

      Defendant denies the allegations contained in paragraph 11 of plaintiff’s

complaint.

                                       12.

      Defendant denies the allegations contained in paragraph 12 of plaintiff’s

complaint.

                                       13.

      Defendant denies the allegations contained in paragraph 13 of plaintiff’s

complaint.

                                       14.

      Defendant denies as stated the allegations contained in paragraph 14 of

plaintiff’s complaint.

                                       15.

      Defendant denies as stated the allegations contained in paragraph 15 of

plaintiff’s complaint.

                                       16.

      Responding to the allegations contained in paragraph 16 of plaintiff’s

complaint, defendant states that Exhibit “4” speaks for itself. Defendant denies in

the form and manner alleged the remaining allegations contained in paragraph 16

of plaintiff’s complaint.



                                       -5-
       Case 1:21-cv-03781-AT-JSA Document 6 Filed 11/11/21 Page 6 of 18



                                          17.

      Responding to the allegations contained in paragraph 17 of plaintiff’s

complaint, defendant states that Exhibit “5” speaks for itself. Defendant denies in

the form and manner alleged the remaining allegations contained in paragraph 17

of plaintiff’s complaint.

                                          18.

      Defendant denies as stated the allegations contained in paragraph 18 of

plaintiff’s complaint and specifically denies that he has “violent propensities.”

                                          19.

      Defendant denies as stated the allegations contained in paragraph 19 of

plaintiff’s complaint and specifically denies that he has “violent propensities.”

                                          20.

      Responding to the allegations contained in paragraph 20 of plaintiff’s

complaint, defendant states that Exhibit “3” speaks for itself. Defendant denies in

the form and manner alleged the remaining allegations contained in paragraph 20

of plaintiff’s complaint.

                                          21.

      Responding to the allegations contained in paragraph 21 of plaintiff’s

complaint, defendant states that Exhibit “1” speaks for itself. Defendant denies in

the form and manner alleged the remaining allegations contained in paragraph 21

of plaintiff’s complaint and specifically denies that he assaulted plaintiff.

                                          -6-
       Case 1:21-cv-03781-AT-JSA Document 6 Filed 11/11/21 Page 7 of 18



                                        22.

      Responding to the allegations contained in paragraph 22 of plaintiff’s

complaint, defendant states that Exhibit “6” speaks for itself. Defendant denies in

the form and manner alleged the remaining allegations contained in paragraph 22

of plaintiff’s complaint.

                                        23.

      Defendant denies the allegations contained in paragraph 23 of plaintiff’s

complaint.

                            CAUSES OF ACTION
                                COUNT ONE
                     CLAIM PURSUANT TO 42 USC 1983
                       Fourteenth Amendment Violation
                    Unreasonable and Excessive Use of Force
                     Defendant RAMON SHEROD WINN

                                        24.

      Responding to the allegations contained in paragraph 24 of plaintiff’s

complaint, defendant hereby incorporates by reference as if fully set forth verbatim

herein his responses previously made to paragraphs 9 through 23 above.

                                        25.

      Responding to the allegations contained in paragraph 25 of plaintiff’s

complaint, defendant states that the Fourteenth Amendment speaks for itself.

Defendant denies in the form and manner alleged the remaining allegations

contained in paragraph 25 of plaintiff’s complaint.


                                        -7-
       Case 1:21-cv-03781-AT-JSA Document 6 Filed 11/11/21 Page 8 of 18



                                           26.

      The allegations contained in paragraph 26 of plaintiff’s complaint constitute

a legal conclusion to which no response is required. To the extent that a response

is required, defendant denies in the form and manner alleged the allegations

contained in paragraph 26 of plaintiff’s complaint and specifically denies that he

violated any of plaintiff’s civil or constitutional rights.

                                           27.

      Defendant denies the allegations contained in paragraph 27 of plaintiff’s

complaint.

                                           28.

      The allegations contained in paragraph 28 of plaintiff’s complaint constitute

a legal conclusion to which no response is required. To the extent that a response

is required, defendant states that the “law” speaks for itself. Further responding,

defendant denies in the form and manner alleged the remaining allegations

contained in paragraph 28 of plaintiff’s complaint and specifically denies that he

assaulted plaintiff or violated any of his constitutional rights.

                                           29.

      Defendant denies the allegations contained in paragraph 29 of plaintiff’s

complaint.




                                           -8-
      Case 1:21-cv-03781-AT-JSA Document 6 Filed 11/11/21 Page 9 of 18



                                         30.

      Defendant denies the allegations contained in paragraph 30 of plaintiff’s

complaint.

                                         31.

      Defendant denies the allegations contained in paragraph 31 of plaintiff’s

complaint and specifically denies that plaintiff is entitled to any of the relief

requested from him in form, type, or amount, under any theory at law or in equity.

                            COUNT TWO
                   CLAIM PURSUANT TO 42 USC 1983
          Fourteenth Amendment – Failure to Supervise and Train
        Sheriff VICTOR HILL, in his Individual and Official Capacity

                                         32.

      Responding to the allegations contained in paragraph 32 of plaintiff’s

complaint, defendant hereby incorporates by reference as if fully set forth verbatim

herein his responses previously made to paragraphs 9 through 23 above.

                                         33.

      Responding to the allegations contained in paragraph 33 of plaintiff’s

complaint, defendant states that 42 U.S.C. § 1983 speaks for itself. Defendant

denies in the form and manner alleged the remaining allegations contained in

paragraph 33 of plaintiff’s complaint.




                                         -9-
      Case 1:21-cv-03781-AT-JSA Document 6 Filed 11/11/21 Page 10 of 18



                                          34.

      The allegations contained in paragraph 34 of plaintiff’s complaint constitute

a legal conclusion to which no response is required. To the extent that a response

is required, defendant denies in the form and manner alleged the allegations

contained in paragraph 34 of plaintiff’s complaint.

                                          35.

      Defendant denies the allegations contained in paragraph 35 of plaintiff’s

complaint.

                                          36.

      Defendant denies the allegations contained in paragraph 36 of plaintiff’s

complaint.

                                          37.

      Defendant denies the allegations contained in paragraph 37 of plaintiff’s

complaint.

                                          38.

      Defendant can neither admit nor deny the allegations contained in paragraph

38 of plaintiff’s complaint for want of sufficient information to form a belief as to

the truth thereof, and puts plaintiff upon strict proof of the same.

                                          39.

      Defendant denies the allegations contained in paragraph 39 of plaintiff’s

complaint.

                                         - 10 -
      Case 1:21-cv-03781-AT-JSA Document 6 Filed 11/11/21 Page 11 of 18



                                        40.

      Defendant denies as stated the allegations contained in paragraph 40 of

plaintiff’s complaint.

                                        41.

      Defendant denies the allegations contained in paragraph 41 of plaintiff’s

complaint.

                                COUNT THREE
                          ATTORNEYS’ FEES & COSTS
                         and EXPENSES OF LITIGATION
                                (All Defendants)

                                        42.

      Responding to the allegations contained in paragraph 42 of plaintiff’s

complaint, defendant hereby incorporates by reference as if fully set forth verbatim

herein his responses previously made to paragraphs 9 through 23 above.

                                        43.

      The allegations contained in paragraph 43 of plaintiff’s complaint constitute

a legal conclusion to which no response is required. To the extent that a response

is required, defendant states that 42 U.S.C. § 1988(b) and FRCP 54 speak for

themselves.    Defendant denies the remaining allegations in paragraph 43 of

plaintiff’s complaint.




                                       - 11 -
      Case 1:21-cv-03781-AT-JSA Document 6 Filed 11/11/21 Page 12 of 18



                                COUNT FOUR
                     VIOLATION OF STATE TORT LAW
                          ASSAULT and BATTERY
                     Defendant RAYMON SHEROD WINN

                                        44.

      Responding to the allegations contained in paragraph 44 of plaintiff’s

complaint, defendant hereby incorporates by reference as if fully set forth verbatim

herein his responses previously made to paragraphs 9 through 23 above.

                                        45.

      Responding to the allegations contained in paragraph 45 of plaintiff’s

complaint, defendant states that he was at all times acting within the course and

scopes of his employment with the Sheriff of Clayton County and was operating in

the performance of his official and discretionary functions. Defendant denies as

stated the remaining allegations contained in paragraph 45 of plaintiff’s complaint.

                                        46.

      Defendant denies the allegations contained in paragraph 46 of plaintiff’s

complaint.

                                        47.

      Defendant denies the allegations contained in paragraph 47 of plaintiff’s

complaint.




                                        - 12 -
      Case 1:21-cv-03781-AT-JSA Document 6 Filed 11/11/21 Page 13 of 18



                                         48.

      Defendant denies the allegations contained in paragraph 48 of plaintiff’s

complaint.

                                         49.

      The allegations contained in paragraph 49 of plaintiff’s complaint constitute

a legal conclusion to which no response is required. To the extent that a response

is required, defendant states that this Court generally has supplemental jurisdiction

over state law claims pursuant 28 U.S.C. § 1367.

                                    DAMAGES

                                         50.

      Defendant denies the allegations contained in paragraph 50 of plaintiff’s

complaint and specifically denies that plaintiff is entitled to any of the relief

requested from him in form, type, or amount, under any theory at law or in equity.

                     ANSWER TO PRAYER FOR RELIEF

                                         51.

      Responding to the allegations contained in the unnumbered paragraph of

plaintiff’s complaint beginning “WHEREFORE,” defendant denies all such

allegations, including all subparagraphs thereof, and specifically denies that

plaintiff is entitled to any of the relief requested from him in form, type, or amount,

under any theory at law or in equity.



                                         - 13 -
      Case 1:21-cv-03781-AT-JSA Document 6 Filed 11/11/21 Page 14 of 18



                                         52.

      Except as expressly admitted, denied, or otherwise responded to, defendant

denies all allegations contained in plaintiff’s complaint.

                                THIRD DEFENSE

      Plaintiff’s claims and his complaint are barred by the applicable statute of

limitations.

                               FOURTH DEFENSE

      To the extent as may be shown by the evidence through discovery, plaintiff’s

damages, if any, resulted solely from the voluntary and intentional conduct of

plaintiff and not from any conduct of defendant.

                                 FIFTH DEFENSE

      To the extent as may be shown by the evidence through discovery, plaintiff’s

damages, if any, were caused by the deliberate, criminal conduct of plaintiff, and

such criminal conduct supersedes any and all liability, if any, on the part of

defendant.

                                 SIXTH DEFENSE

      No act or omission of defendant either proximately caused or contributed to

any damages allegedly suffered by plaintiff; therefore, plaintiff has no right of

recovery against defendant.




                                         - 14 -
      Case 1:21-cv-03781-AT-JSA Document 6 Filed 11/11/21 Page 15 of 18



                                 SEVENTH DEFENSE

      To the extent as may be shown by the evidence through discovery, plaintiff’s

damages, if any, were directly and proximately caused by the contributory and

comparative negligence of plaintiff.

                                 EIGHTH DEFENSE

      To the extent as may be shown by the evidence through discovery, defendant

asserts the affirmative defenses of accord and satisfaction, arbitration and award,

assumption of risk, duress, estoppel, failure of consideration, failure to mitigate

damages, fraud, illegality, laches, license, payment, release, res judicata, statute of

frauds, statute of limitations, and waiver.

                                   NINTH DEFENSE

      Defendant is entitled to official immunity and qualified immunity to the

fullest extent allowed by law.

                                  TENTH DEFENSE

      Defendant shows that he did not violate the rights of plaintiff under any

provisions of or amendments to the United States Constitution, Georgia

Constitution, or any other laws.

                              ELEVENTH DEFENSE

      To the extent plaintiff has named defendant in this action in his official

capacity, defendant asserts that he is entitled to the Eleventh Amendment

immunity and sovereign immunity to the fullest extent allowed by law.

                                         - 15 -
      Case 1:21-cv-03781-AT-JSA Document 6 Filed 11/11/21 Page 16 of 18



                               TWELFTH DEFENSE

      To the extent plaintiff has named defendant in this action in his official

capacity, defendant asserts that plaintiff’s claims are barred by plaintiff’s failure to

provide ante litem notice.

                              THIRTEENTH DEFENSE

      Defendant reserves the right to plead and prove such other defenses as may

become known to him during the course of his investigation and discovery.

      WHEREFORE, having fully listed his defenses and having fully answered

the complaint, defendant prays as follows:

      (a)    That judgment be entered in favor of defendant and against plaintiff

             on the complaint;

      (b)    That the costs of this action, including attorney fees, be cast against

             plaintiff; and

      (c)    That the Court grant such other and further relief as it may deem just

             and proper.

                  DEFENDANT DEMANDS TRIAL BY JURY
                      ON ALL ISSUES SO TRIABLE.


                                        FREEMAN MATHIS & GARY, LLP

                                        /s/ A. Ali Sabzevari
                                        Jack R. Hancock
                                        Georgia Bar No. 322450
                                        jhancock@fmglaw.com
                                        A. Ali Sabzevari

                                         - 16 -
     Case 1:21-cv-03781-AT-JSA Document 6 Filed 11/11/21 Page 17 of 18



                                  Georgia Bar No. 941527
                                  asabzevari@fmglaw.com
                                  Attorneys for Defendant
661 Forest Parkway, Suite E
Forest Park, Georgia 30297
(404) 366-1000 (telephone)




                                   - 17 -
      Case 1:21-cv-03781-AT-JSA Document 6 Filed 11/11/21 Page 18 of 18



                         CERTIFICATE OF SERVICE

      I hereby certify that I have served the foregoing DEFENDANT RAYMON

SHEROD       WINN’S     ANSWER        AND       DEFENSES     TO    PLAINTIFF’S

COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL to the

Clerk of Court using the CM/ECF system which will automatically send electronic

mail notification of such filing to counsel of record who are CM/ECF participants:

                               Wayne B. Kendall
                               Kimberly Ellison
                            Wayne B. Kendall, P.C.
                          155 Bradford Square, Suite B
                            Fayetteville, GA 30215

      This 11th day of November, 2021.


                                      /s/ A. Ali Sabzevari
                                      A. Ali Sabzevari
                                      Georgia Bar No. 941527


FREEMAN MATHIS & GARY, LLP
661 Forest Parkway
Suite E
Forest Park, Georgia 30297-2257
(404) 366-1000 (telephone)
(404) 361-3223 (facsimile)




                                       - 18 -
